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                                                          December 31, 2020

BY ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, NY 10007

         Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        We write on behalf of our client, Ghislaine Maxwell, to respectfully request a two-week
extension of time to file our pretrial motions and to shift the other motion deadlines forward by
two weeks. We have conferred with the government, which has consented to the requested
extension and the modified briefing schedule. The requested extension is necessary given the
large volume of discovery produced by the government, which we are still reviewing, and to
ensure that defense counsel can adequately discuss the motions with our client and have her
review them. As the Court is aware, Ms. Maxwell was recently placed in quarantine for 14 days
and in-person legal visits at MDC have been indefinitely suspended due to COVID, which has
constrained our ability to confer with her.

       Under the Court’s original briefing schedule, the defendant’s pretrial motions were due on
December 21, 2020, the government’s response was due January 22, 2021, and the defendant’s
reply was due on February 5, 2021. (Dkt. 25). The Court agreed to move those deadlines by three
weeks because the government needed additional time to finish producing discovery. (Dkt. 72).
Under the current briefing schedule, the defendant’s pretrial motions are due on January 11, 2020,
the government’s response is due February 12, 2021, and the defendant’s reply is due on February
19, 2021. (Id.). We respectfully request that the Court so order the briefing schedule below. The
next scheduled appearance before the Court is the first day of trial on July 12, 2021.

         January 25, 2021     Defendant’s pretrial motions due
         February 26, 2021    Government’s response due
         March 5, 2021        Defendant’s reply due
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The Honorable Alison J. Nathan
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                                                 Sincerely,


                                                   /s/ Christian Everdell     .
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  cc:    All Counsel of Record (By ECF)
